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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Physicians Healthsource, Inc.
                                    Plaintiff,
v.                                                    Case No.: 1:16−cv−07474
                                                      Honorable Matthew F. Kennelly
R.X.N.B., Inc., et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 28, 2016:


        MINUTE entry before the Honorable Matthew F. Kennelly: Pursuant to the joint
stipulation of dismissal [38], defendants Wellness Medical Protection Group, PLLC.,
R.X.N.B., Inc., and RXNBI LLC are dismissed with prejudice and pursuant to the notice
of voluntary dismissal [40], defendants John Does 1−5 are dismissed without prejudice.
The 11/29/2016 status hearing is vacated. Plaintiff's first amended motion for class
certification [30] is terminated. Civil case terminated. Mailed notice. (pjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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